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7

8                                  UNITED STATES DISTRICT COURT
9                                EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,           )               Case No. 1:14-cr-00228 LJO
                                         )
12                           Plaintiff,  )               DEFENDANT’S WAIVER OF PERSONAL
                                         )               PRESENCE AT SENTENCING PURSUANT
13                     vs.               )               TO FRCP RULE 43 AND NOTICE OF INTENT
                                         )               TO BE PRESENT BY WAY OF VIDEO
14   JEREMY MICHAEL MURPHY,              )               CONFERENCE; STIPULATION FOR
                                         )               WAIVER OF PERSONAL PRESENCE; AND
15                           Defendant,  )               ORDER OF DENIAL
     ___________________________________ )
16                                                       DATE:           March 7, 2016
                                                         TIME:           101:00 a.m.
17                                                       DEPT:           Hon. Lawrence J. O’Neill

18

19                                                   WAIVER

20          Defendant Murphy hereby knowingly, voluntarily, and intelligently waives his right to be

21   physically present at his sentencing.

22          He instead intends to be present by way of live video conferencing and therefore only

23   specifically waives his right to physical presence and does not waive his right to allocution at a

24   the proceedings. He waives the right to appeal any issues that may arise as a result of this waiver

25   of his right to physical presence.

26                                                STIPULATION

27          Pursuant to provisions of Federal Rule of Criminal Procedure 43 and related case law,

28   defendant Jeremy Michael Murphy, and his counsel, Daniel A. Bacon, and the United States
     DEFENDANT’S WAIVER OF PERSONALPRESENCEAT SENTENCING PURSUANT TO FRCP RULE 43 AND NOTICE OFINTENT TO
     BEPRESENT BY WAY OF VIDEO CONFERENC; STIPULATION FOR WAIVER OF PERSONALPRESENCE; AND [PROPOSED]
     ORDER                                                                        1
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1    of America, through Assistant U.:S. Attorney Grant Rabenn, hereby stipulate that defendant
2
     Murphy be allowed to waive his right to physical presence at his sentencing, scheduled for
3
     March 7, 2016 at 10:00 a.m., in the above entitled Court.
4
            The legal basis for the stipulation and waiver is set forth in the memorandum of points
5

6    and authorities served and filed herewith. The factual basis for this stipulation and waiver is set

7    forth in the declaration of Jeremy Michael Murphy served and filed herewith.
8
            DATED: January 12, 2016                       /s/ Jeremy Michael Murphy
9                                                         JEREMY MICHAEL MURPHY
                                                          Defendant
10

11

12          DATED: January 12, 2016                       BENJAMIN B. WAGNER
                                                          United States Attorney
13
                                                          /s/ Grant Rabenn
14
                                                          Attorney for Plaintiff
15

16
            DATED: January 12, 2016                       /s/ Daniel A. Bacon
17
                                                          Attorney for Defendant
18
                                                 ORDER
19
            If there is a probability that the Defendant will be sentenced to prison, AND there is no
20

21   Stipulation that he will not be taken into immediate custody upon sentencing with good reasons

22   Stated, the request is DENIED.
                     IT IS SO ORDERED.
23

24                                                     Dated:    January 16, 2016
     /s/ Lawrence J. O’Neill
25
                                                       UNITED STATES DISTRICT JUDGE
26

27
     DEFENDANT’S WAIVER OF PERSONAL PRESENCE AT SENTENCING PURSUANT TO FRCP RULE 43
28   ANDNOTICE OFINTENT TO BEPESENTBYWAYOFVIDEOCONFERENCE;STIPULATIONFOR WAIVER
     OFPHYSICAL PRESENCE; AND [PROPOSED] ORDER
